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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE,
   and LAURIE LOGER, on behalf of
   themselves and all others similarly situated,

   Plaintiffs,

   v.

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

   Defendants.                                               No. 12-0660-DRH



                             MEMORANDUM and ORDER

   HERNDON, District Judge:

         The Court entered an order on August 16, 2018 (Doc. 894) which placed

   the parties on notice of some of the logistical issues associated with the scheduled

   jury trial of this matter on August 29, 2018. For example, the Court constructed

   a trial calendar (Exhibit 2 of the order) to advise which days the Court would be

   in trial and which days it would not be in trial. The Court also advised the parties

   that it intended to use mid-trial summaries of the evidence to assist the jury in

   keeping the evidence in mind despite the hiatuses created by the Court recessing

   for extended periods. For example, in September the Court will hear evidence for

   four straight days (fourth through the seventh). During the next week the Court

   will be adjourned four out of the five days; the tenth to honor Rosh Hashanah and

   the twelfth through the fourteenth due to the undersigned judge’s required


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   attendance of the Judicial Conference of the United States Courts in Washington,

   D.C. The following week the Court will take evidence the seventeenth and

   eighteenth, will be in recess the nineteenth for Yom Kippur and will hear evidence

   the twentieth and twenty-first. The following week, the Court will hear evidence

   five contiguous days, the twenty-fourth through the twenty-eighth. The same the

   following week, October first through the fifth. Therefore, at that point in time,

   the Court will have been in session for nineteen days. Also, the Court advised the

   parties that Columbus Day, the eighth, will close the courthouse and that the

   undersigned judge has an irreconcilable conflict in the schedule and would

   remain in recess until October fifteenth. The Court could return to session on

   that date for five contiguous days through the nineteenth. Under the proposed

   schedule, the Court will then be in recess through November second, rendering

   ten contiguous days without week day sessions.       The Court could, under that

   proposed schedule, return to session, if needed the fifth through the ninth for five

   contiguous days.

         The defendants objected to the non-contiguous nature of the schedule and

   to the mid-trial summaries intended by the Court. In doing so, defendants relied

   on two trial court orders finding breaks in the evidence to “severely interrupt the

   presentation of the case and substantially interfere with the jury’s ability to stay

   engaged.” United States v. Neuman, 11-CR-00247, 2013 WL 5787176, at 15 (D.

   Or. Oct. 28, 2013). Defendants cited Principle 12 of the ABA Principles for Juries

   and Jury Trials (2005) as well as the Seventh Circuit American Jury Project



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   (2008) at 45. The material at the Seventh Circuit citation by defendants is the

   same as the ABA citation; Principle 12.

         Principle 12, relied upon by defendants, is relevant to this case, but not for

   the reasons cited by defendants. Instead of focusing on a principle that there

   should not be delays and interruptions in trial, the focus of Principle 12 is to

   encourage courts to place time limits on cases, “The court, after conferring with

   the parties, should impose and enforce time limits on the trial or portions

   thereof.” Seventh Circuit American Jury Project (2008) at page 45. Principle 12

   only confirms the conclusion this Court had drawn when reading the defendants’

   objections.

         Therefore, the Court will impose time restrictions in this case. There are

   nineteen available days for evidence through October 5, 2018.        Following that

   there is a hiatus of one week before five trial days available the fifteenth through

   the nineteenth. August the twenty-ninth is listed on the proposed calendar as jury

   selection beginning and was originally intended for the jurors to only come in to

   fill out the parties’ joint questionnaire. In light of what has now been brought to

   the Court’s attention regarding this schedule, the Court and the parties will

   conduct voir dire on the twenty-ninth.      The jurors will be brought into the

   courtroom and will be read the pertinent contents of the proposed order which

   the Court provided as Exhibit 1 of the aforementioned order (894). They will then

   be directed to return to the jury assembly room to fill out the questionnaires and

   then instructed to return at 1:00 PM for voir dire.



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         Counsel for each side will return on the thirtieth to take up the legal issues

   which the court originally intended to take up on the twenty-ninth. As indicated

   in the proposed schedule, the courthouse is closed on Friday, August 31, 2018

   (court-wide conference) and Monday, September 3, 2018 (Labor Day). Therefore,

   the jury will return on Tuesday, September 4, 2018. The Court will first read the

   preliminary instructions, followed by opening statements from both parties.

   Thereafter, the evidence will be presented.      For purposes of the Final Pretrial

   Order, the parties estimated there would need to be twenty-five court days for the

   trial, beginning to end. Since that time the Court has disallowed the testimony of

   two of plaintiffs’ experts and three of defendants’ experts. The Court, therefore,

   finds a reasonable amount of time for the evidence in the case to be no more than

   nineteen days and additional time will be allowed for closing. The Court hereby

   limits the time for evidence to be presented by all parties to no later than 5:00 PM

   Friday, October 5, 2018. Unless they occur sooner due to the parties not using all

   the time set aside for evidence, the initial final jury instructions will be read to the

   jury beginning Monday, October 15, 2018, at 9:00 AM, followed by the closing

   arguments of each side, after which the Court will read the remaining jury

   instructions (those bearing directly on the jury’s deliberations).

         In light of this schedule, the Court will limit the time for evidence

   presentation for both sides. Assuming nineteen evidence available days with the

   schedule established above, together with an average of six hours of trial time

   each day, the amount of time for evidence totally will be 6840 minutes. This



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   assumes a schedule of 8:30 AM to 12:00 noon for each morning session and 1:00

   PM to 4:30 PM for each afternoon session, with an hour to accommodate minutes

   not charged to anyone.     Applying reasonable time limits on parties has ample

   authority in federal jurisprudence. Fed. R. Civ. P. 16(c), Fed. R. Evid. 611(a), MT.

   Bonk Co. v. Milton Bradley Co., 945 F.2d 1404, 1408 (7th Cir. 1991) and MCI

   Communications Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081 (7th Cir. 1983).

         In light of the plaintiffs’ obligation to bear the burden of persuasion, the

   plaintiffs’ side shall be allowed three thousand six hundred (3600) minutes of

   evidence time. The defendants collectively shall be allowed three thousand two

   hundred and forty (3420) minutes of evidence time.              Defendants shall decide

   among themselves the division of the time between each defendant to the others.

   Defendants shall advise the Court of their allocation no later than close of

   business August 28, 2018. Defendants all agreed at the final pretrial conference

   that the defenses of the three parties are aligned and further agreed they could

   work together on jury strikes.

         Defendants    also   objected    to   the   evidentiary    summaries    (mid-trial

   summaries) the Court indicated it intended to use. In doing so, the defendants

   relied upon a number of non-precedential sources that do not provide for the

   Court to read the summaries as suggested by this Court.              All this Court was

   attempting to do was to reduce as much as possible the blatant advocacy that

   could result from each side supplying its own summary. However, rather than

   force this issue, for which there is no authority prohibiting the Court’s plan, the



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   Court will instead allow each side to present a mid-trial summary if they care to

   on September 17, 2018 following a three court day plus a two weekend day

   hiatus. Each shall use no more than ten minutes which shall be counted against

   that side’s time.   Summaries will not be necessary after the only other multi-day

   hiatus since closing arguments will be given on the return day from that break.

         Each side shall keep track of their own time and the other party’s time, and

   shall confer with each other at the end of the court day to come to an agreement

   or make a determination as to the time each side consumed that day. In making

   that determination, counsel shall follow these basic rules. When counsel is asking

   a question of a witness, the time spent asking that question as well as the answer

   shall be charged to the party represented by said counsel whether the question

   came during direct or cross examination. All objections shall be treated the same,

   with time that it takes to make the objection charged to the party represented by

   the objector.   The time, if any, used by opposing counsel responding to the

   objection shall be charged to that counsel’s represented party. If any counsel ask

   and are granted a sidebar, the entire time of the sidebar from the moment it is

   requested until the end shall be charged to the requesting party. The Court will

   cut short any argument in response clearly intended to burn time needlessly.

   Consistent with the encouragement to limit time found in ABA Principle 12, each

   party shall be limited in time for closing arguments, however, this will be time in

   addition to that allowed for evidence. Plaintiff shall be limited to four hours (240

   minutes) for the initial closing, defendants shall be limited to five hours (300



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   minutes) for the combined closing of all three defendants, which shall be agreed

   upon by the defendants, advising the Court as soon as practicable after arriving at

   agreement.   Plaintiffs shall be allowed two hours (120 minutes) for rebuttal

   closing.


         IT IS SO ORDERED.


                                                          Judge Herndon
                                                          2018.08.23
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                                                      United States District Judge




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